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                    Exhibit 1-P
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment


       U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                 Evidence Packet P.0316
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                                                                                 Attraction Experience Comparison between DAS Guests and non‐DAS Guests




        Disneyland Secret Shopper Study
                                   Attendance       Total Attrs   Total Attrs Range      DAS Attr     Re‐ADD Attrs      Stand‐By   FP      No. Priority Attrs   Total WT in Queue   Avg WT/Experience   Avg SB WT
             DL‐         DAS
           1/3/16      Non DAS
             DL‐         DAS
           1/4/16      Non DAS
            DCA‐         DAS
           1/3/16      Non DAS
            DCA‐         DAS
           1/4/16      Non DAS

                         DAS
            DCA
                       Non DAS
                         DAS
            DL
                       Non DAS

                         DAS
           TOTAL
                       Non DAS


        Notes:
        Column Definitions:
                    Attendance ‐ Attendance was based on the
                    Total Attrs ‐ The total number of attractions experienced
                    Total Attrs Range ‐ The Minimum and Maximum number of total attractions experienced in a given sample set
                    DAS Attr ‐ Number of attractions experienced through DAS return process

                      Stand‐By ‐ Number of attractions experienced after waiting in the stand‐by queue
                      FP ‐ Number of attractions experienced after waiting in the FP queue
                      No. Priority Attrs: Total number of priority attractions experienced
                      Total WT in Queue ‐ The total amount of wait time in queues
                      Avg WT/Experience ‐ The total wait time in queue divided by the total number of attractions experienced
                      Avg SB WT ‐ The average duration the auditors waited in Stand‐By queues only




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